      Case 6:19-cv-00035-RSB-BWC Document 12 Filed 01/13/21 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION


 RANDY JENKINS HARMON, JR.,

                Plaintiff,                               CIVIL ACTION NO.: 6:19-cv-35

        v.

 DOUG WILLIAMS, et al.,

                Defendants.


                                           ORDER

       After an independent and de novo review of the entire record, the undersigned concurs with

the Magistrate Judge’s Report and Recommendation, (doc. 11). Plaintiff did not file Objections

to the Report and Recommendation.

       Accordingly, the Court ADOPTS the Magistrate Judge’s Report and Recommendation as

the opinion of the Court. The Court DISMISSES Plaintiff’s Amended Complaint, DIRECTS the

Clerk of Court to CLOSE this case and enter the appropriate judgment of dismissal, and DENIES

Plaintiff in forma pauperis status on appeal.

       SO ORDERED, this 13th day of January, 2021.




                                      R. STAN BAKER
                                      UNITED STATES DISTRICT JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
